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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                           : Bankruptcy No. 18-24439-JAD
                                                 :
MICHAEL A. DEEB                                  : Chapter 7
BREANNE M. DEEB                                  :
                            Debtor               :
                                                 :
   Natalie Lutz Cardiello, Trustee               :
                                                 :
          Movant                                 :
                                                 :
     v.                                          :
                                                 :
   United States of America, Internal            :
   Revenue Service; Commonwealth of              :
   Pennsylvania, Department of Revenue;          :
   County of Butler; Township of Clay;           :
   Moniteau School District; Nationstar          :
   Mortgage, LLC d/b/a Mr. Cooper; and           :
   Cavarly SPV I, LLC as Assignee of Bank        :
   of America/FIA Card Services, N.A.            :
                                                 :
           Respondents                           :


                                           REPORT OF SALE

          A sale hearing was conducted on September 3, 2019, in connection with the sale of 110 Chrie
Lane, Butler, PA 16001 to John C. Williams, III. The sale was closed on September 16, 2019. The sale
price was $180,000. The bankruptcy estate received a carve-out of $9,000. A copy of the ALTA
Settlement is attached hereto as Exhibit “A”.
          The carve-out proceeds will be held by the Trustee pending further Order of Court.

                                                  Respectfully submitted,


                                                  /s/ Natalie Lutz Cardiello________
                                                  Natalie Lutz Cardiello, Trustee
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